                        IN THE UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF MISSOURI
                                     WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                   Plaintiff,                    )
                                                 )   Criminal Action No.
         v.                                      )   10-00244-01-06-CR-W-DW
                                                 )
EDWARD BAGLEY, SR.,                              )
and                                              )
MARILYN BAGLEY,                                  )
                                                 )
                   Defendants.                   )

                                        MEMORANDUM

       On February 3, 2012, and over the weekend, my staff received six e-mails similar to the

one received on January 6, 2012. The e-mails were sent from a different e-mail address. Some

were not signed, some were signed with one initial, and some were signed with three initials

matching the name of the person who purported to send the original e-mail. It appears this

person or persons are attempting to influence the processing of this case or, at the very least,

influence the jury pool (the e-mails were also sent to employees of Missouri newspapers). I

have not read any of the e-mails which were sent. My staff reported on the general nature of

the first one and have not read any of the other e-mails that have been received. I have

ordered my staff to delete any e-mail relating to this case unless it comes from one of the

parties. The e-mails will not be read by me or anyone else.




                                             ROBERT E. LARSEN
                                             United States Magistrate Judge

Kansas City, Missouri
February 6, 2012




       Case 4:10-cr-00244-DGK          Document 285        Filed 02/06/12     Page 1 of 1
